
243 S.E.2d 143 (1978)
STATE of North Carolina
v.
Albert CROWDER, Jr.
No. 26 PC.
Supreme Court of North Carolina.
April 27, 1978.
Gerald L. Bass, Raleigh, David E. Kendall, NAACP Defense Atty., New York City, for defendant.
T. Buie Costen, Asst. Atty. Gen., Burley B. Mitchell, Jr., Dist. Atty., for the State.

ORDER DENYING MOTION FOR RECONSIDERATION
EXUM, Justice.
Inasmuch as defendant did not assign as error on appeal the failure of the trial judge to place the burden of proving the absence of heat of passion or the absence of self-defense on the state, see State v. Crowder, 285 N.C. 42, 203 S.E.2d 38 (1974), he has waived his right now to complain about such errors. Hankerson v. North Carolina, 432 U.S. 233, 244, n.8, 97 S.Ct. 2339, 2345, n.8, 53 L.Ed.2d 306, 316, n.8 (1977). Now, therefore, it is
ORDERED by the Court in Conference that defendant's motion for reconsideration be and it is hereby denied.
This the 12th day of September, 1977.
